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                            Office of the Independent Monitors
               Berry et al. v. Brumley et al. (Civil Case No. 2:10-cv-04049)
                             Final Status Report to the Parties

                                        May 27, 2022

I.      INTRODUCTION

        Pursuant to Section V(9) on page 16 of the Consent Judgment (CJ) filed with the Court

on March 25, 2015, the Independent Monitors shall file with the Court and provide the Parties

with reports describing the steps taken by the State Defendants and the Defendant-Intervenor

to implement the Agreement and evaluate the extent to which the State Defendants and the

Defendant-Intervenor have complied with each substantive provision of the Agreement.

Pursuant to Section V(9)(a), the Monitor shall issue a status report every 120 days after the

first year of implementation of the Agreement. The reports shall be provided to the Parties in

draft form for comment at least 14 days prior to their issuance. The Monitor shall consider the

Parties’ responses and make appropriate changes, if any, before issuing the report. These

reports shall be written with due regard for the privacy interests of the students. Pursuant to

Section V(9)(b) of the CJ, the Independent Monitors shall evaluate the state of compliance for

each relevant provision of the Agreement using the following standards: (1) Substantial

Compliance and (2) Noncompliance. In order to assess compliance, the Monitor shall review

a sufficient number of pertinent documents to accurately assess compliance and interview any

necessary staff or personnel. The Monitor shall also be responsible for independently

verifying representations from the State Defendants or Defendant-Intervenor regarding

progress toward compliance and examining supporting documentation. Each Monitor report

shall describe the steps taken by the Monitor to assess compliance, including documents

reviewed and individuals interviewed, and the factual basis for each of the Monitor’s findings.


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Pursuant to Section V(10) of the CJ, reports issued by the Monitor shall not be admissible

against the State Defendants and the Defendant-Intervenor in any proceeding other than a

proceeding related to the enforcement of this Agreement initiated and handled exclusively by

the State Defendants, the Defendant- Intervenor, or the Plaintiff’s counsel.

      The current IM Draft status report addresses activities completed by the State

Defendants during the spring semester of the 2019-2020 school year. First, the IMs provide a

summary of findings resulting from targeted, on-site follow-up monitoring activities

completed during the spring 2020 semester. These follow-up monitoring visits were

conducted for LEAs required to implement corrective action plans (i.e., CAPs and/or ICAPs)

during the spring (2018-2019) school term and throughout the 2019-2020 school year to

address areas of previously identified systemic noncompliance in the areas of Child Find,

Related Services and Enrollment Stability. Second, the IMs provide a summary of

“Substantial Compliance” or “Noncompliance” decisions as related to specific follow-up

monitoring activities undertaken by the LDOE (e.g., student selections, completion of staff

interviews and student file reviews, development and dissemination of Monitoring Reports,

IDEA Results summaries and development and dissemination of Corrective Action Plans

(CAPs or ICAPs), when applicable). The sequence of information in this IM status report

follows the general structure of the CJ. Language from each substantive provision of the

Agreement or Addendum A (i.e., monitoring protocols) outlined in the CJ is incorporated into

the IM status report, when appropriate.

     II. TARGETED FOLLOW-UP MONITORING ACTIVITIES FOR NOLA PS
     CHARTER SCHOOLS

    The LDOE engaged in targeted, on-site follow-up monitoring activities for five NOLA

PS charter schools that were required to implement Corrective Action Plans (CAPs) or


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Intensive Corrective Action Plans (ICAPs) during the spring (2018-2019) semester and the

2019-2020 school year to address previously observed findings of systemic noncompliance

as reported in 2018-2019 LDOE Monitoring Reports and 2018-2019 IDEA Findings

summaries. The IMs report here summarizes the activities conducted and decisions made by

the LDOE as related to the required on-site, follow-up monitoring activities for each relevant

provision of the CJ.

   All NOLA PS charter schools required to undergo follow-up targeted monitoring were

sent a notification email from LDOE Director of State-wide Monitoring on January 15, 2020

(see the Appendix for a copy of each email). This notification provided an overview of the

requirements for follow-up, on-site targeted monitoring pursuant to the CJ, the specific areas

in which the charter school was being monitored, methods of monitoring (e.g., student file

selection, staff interviews, student file reviews, etc.), LDOE contact personnel, the specific

date of interviews with staff, instructions for the on-site monitoring visit, and copies of the

staff interview questions and relevant protocols to be utilized during student file reviews.

      LDOE monitoring personnel submitted the targeted, on-site follow-up monitoring

schedule and the rosters of randomly selected student files for the spring 2019-2020 school

term to the IMs on January 31, 2020. LDOE monitoring personnel and the IMs conducted

on-site staff interviews and student file reviews from February 4-6, 2020, using the

monitoring protocol documents required by the CJ. The IMs and LDOE monitoring

personnel evaluated all student files independently and reconciled any scoring differences

during the on-site monitoring visits and/or during subsequent conference calls. As mentioned

in previous IM status reports, based on agreements among the Parties during a meeting held

on September 22, 2016, compliance determinations for individual students shall be consistent



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with the 100% compliance standard outlined in the IDEA. As such, during targeted

monitoring activities, any single finding of noncompliance observed for any specific IDEA

regulation being assessed for an individual student was judged to reflect noncompliance and

required immediate individual corrective action (i.e., student-specific findings

noncompliance outlined in the IDEA Monitoring Summary and/or individual corrective

actions included in the charter schools’ CAP or ICAP). Similarly, all parties agreed that

systemic noncompliance would be determined when less than 80% of the student sample

failed to meet the 100% individual student compliance standard for any IDEA regulation

evaluated using the CJ protocols. As such, any observed systemic noncompliance for any

IDEA mandate assessed would require the charter school in question to undergo mandatory

systemic corrective actions (i.e., CAP or ICAP) to address all areas of observed systemic

noncompliance for IDEA mandates.

       The LDOE monitoring personnel completed the draft monitoring reports for each

NOLA PS charter school participating the spring (2019-2020) follow-up monitoring and

submitted draft reports to the IMs on June 25, 2020, for review and feedback. The IMs

submitted recommended edits to the draft monitoring reports on July 1, 2020. All LDOE

Monitoring Reports were submitted to NOLA PS charter schools participating in the spring

(2019-2020) follow-up targeted monitoring on July 21, 2020. These documents are the

Appendix for review by all parties.

       The required CAPs and/or ICAPs for NOLA PS charter schools requiring corrective

actions during the spring (2018-2019) and 2019-2020 school years were developed by LDOE

personnel and submitted to NOLA charter school officials during March and April 2019.

Technical Assistance (TA) meetings were held with all NOLA PS charter schools requiring

corrective actions on March 26, 2019, and April 11, 2019. These TA meetings included an


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 overview of all required CAP/ICAP activities along with review of various resources to assist

 NOLA PS charter school staff with effectively completing all corrective action activities (see

 Appendix for a review of CAP/ICAP resources).

         Subsequently, throughout the spring 2018-2019 and 2019-2020 school year LDOE

 monitoring staff gathered, reviewed, and verified the receipt of required documentation of

 CAP or ICAP activities submitted by each NOLA PS charter school undergoing corrective

 actions during the spring 2018-2019 and 2019-2020 school years. LDOE staff reviewed all

 corrective action documentation submitted and provided feedback and/or additional technical

 assistance to school personnel, as needed, based on each charter school’s ongoing progress

 with CAP and/or ICAP implementation (e.g., weekly email correspondence, weekly or bi-

 weekly telephone conferences, face-to-face meetings with school personnel at school sites

 and/or at the LDOE building) to address topics such as appropriate Child Find activities (e.g.,

 procedures to follow within the SBLC process) and appropriate Related Service provisions

 and IEP compliance (e.g. writing compliant IEP goals and PLAAF statements, appropriate

 provision and documentation of related services; appropriate documentation of student

 progress monitoring results and maintaining updated service logs, etc.).

       The IMs review of compliance with the targeted, on-site follow-up monitoring

provisions of the CJ for the spring (2019-2020) school year consisted of an evaluation of two

components of the LDOE’s monitoring activities. Specifically, the components assessed for

compliance included: (1) Completion of targeted monitoring activities by the LDOE as

required under the CJ and Addendum A to the CJ (e.g., conducting staff interviews,

appropriate selection of student files, assessing student files using the approved CJ monitoring

protocols, and correct identification of systemic or individual compliance and/or



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noncompliance) and (2) the development of appropriate corrective actions “sufficient to

remedy the noncompliance and to reasonably ensure that such noncompliance does not

reoccur.” (pp. 7, 9, 11, 14 of CJ), if warranted. As such, the current IM status report provides a

review of monitoring activities and findings for each NOLA PS requiring targeted follow-up

monitoring along with the IMs determinations regarding the status of compliance with the

monitoring provisions required under the CJ. An overall summary regarding targeted, on-site

follow-up monitoring activities and professional recommendations are provided at the

conclusion of this report.

   A. CHILD FIND

   1. Targeted Follow-Up Monitoring Activities for the Child Find Provisions

       One NOLA PS charter school was required to undergo targeted, on-site follow-up

monitoring during the spring semester of the 2019-2020 school year to assess compliance for

IDEA and Bulletin 1508 Child Find regulations. Walter L. Cohen College Preparatory

Academy represented the single NOLA PS charter school requiring targeted, on-site follow-up

monitoring in the area of Child Find. A review of the follow-up monitoring findings for this

NOLA PS charter school is presented below.

       a. Walter L. Cohen College Preparatory Academy

       The on-site targeted follow-up monitoring visit occurred on February 5, 2020. Two

LDOE representatives and two IMs conducted staff interviews and reviewed student files. The

staff interview was conducted with staff members using a standard bank of questions

consistent with requirements outlined in sections 4(a) and 4(b) on page 2 of Addendum A of

the CJ. The specific staff members who participated in the interview process are reported on

page 3 of the LDOE Monitoring Report. Walter L. Cohen College Preparatory Academy



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faculty members participating in the interview clearly articulated their responses regarding the

Child Find process in relation to MTSS/RTI and demonstrated comprehensive knowledge of

state and federal policies, regulations and procedures required for completing IDEA and 504

evaluations. However, potential concerns were indicated with regard to appropriate School

Building Level Committee (SBLC) procedures (i.e., limited evidence of team-based

collaboration; limited parental involvement). A detailed summary of staff responses is

presented on pages 3-4 of the LDOE monitoring report located in the Appendix.

        A representative sample of eleven (11) student files were reviewed by LDOE

monitoring personnel and the IMs in a manner consistent with the requirements outlined in

section 2(a) on page 1 of Addendum A of the CJ. Specifically, the sample consisted of five

students (46% of the sample) who had current Section 504 Accommodation Plans, three

students (27% of the sample) who were Under Consideration by the SBLC and had recently

undergone IDEA evaluations and three students (27% of the sample) who were participating in

the Response to Intervention (RTI)/Multi-Tiered System of Supports (MTSS) process.

       Student file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section 3(a) on page 2 of Addendum A of

the CJ using the required Child Find protocol. Please refer to page 4 of the LDOE Monitoring

Report for Walter L. Cohen Preparatory Academy in the Appendix for a list of items that were

reviewed to complete the Child Find protocol for the sample of students.

       A review of student records revealed that 11 of 12 (92%) IDEA Child Find regulations

assessed reflected no student-specific and/or systemic issues of noncompliance under the

IDEA, Part B program. However, in relation to the Child Find regulation outlined in §303- B.

LA Bulletin 1508 requiring the SBLC to be comprised of appropriate team members (i.e.,




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minimum of a classroom teacher, the referring staff member and school administrator or

designee), the findings of the spring 2019-2020 follow-up monitoring review indicated that

seven of nine (78%) applicable student files reviewed were observed to reflect noncompliance

for this Child Find regulation. As such, this reflects continued systemic noncompliance in this

regard. All student-specific and systemic concerns observed during the spring 2019-2020

follow-up monitoring visit are detailed in the 2019-2020 LDOE IDEA Results Summary for

Walter L. Cohen Preparatory Academy located in the Appendix.

        2. Corrective Actions to Address Identified Areas of Noncompliance

        As required, LDOE staff developed an ICAP to address continued noncompliance for

Child Find regulations and sent notice of continued corrective actions to Walter L. Cohen

Preparatory Academy officials via email on July 21, 2020. The prescribed intensive corrective

actions for this NOLA PS charter school included the following activities for addressing

continued noncompliance observed for §303- B. LA Bulletin 1508 (SBLC team members;

parental involvement):

    •   1.1 Correct all student specific citations identified in the Results Summary report.

        NOTE: This activity represents an individual corrective action plan for providing

        remedies for all student specific IDEA citations.

    •   1.2 SBLC forms will be filled out in their entirety including the required components

        below:

             (a) All required participants name, title, and signature (required participants are:

                 principal or designee, SBLC chairperson, parent, referring person/agency,

                 classroom teacher(s) of student).

             (b) Referral concern(s).




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            (c) Team meeting date.

            (d) Data/documents reviewed for student (ex: screeners, assessment scores,

                behavior checklist, behavior referrals, grades, attendance, academic checklist,

                etc.).

            (e) Summary of the team decisions/actions taken.

            (f) If placed in MTSS/RTI, specify the Tier student is placed, the type(s) of

                intervention(s) (must be research based), time/frequency of intervention(s)

                and length of time the student will participate in intervention(s) (e.g., 6 weeks,

                8 weeks, etc.).

        Please refer to the Appendix for a detailed description of ICAP activities required by

Walter L. Cohen Preparatory Academy for addressing identified student-specific concerns and

systemic noncompliance with federal and/or state Child Find mandates.

        The ICAP developed for Walter L. Cohen Preparatory Academy was reviewed by the

IMs and found to include corrective actions that are consistent with requirements outlined on

page 2 of Bulletin 1922 (Louisiana Administrative Code March 2017 Part XCI. Compliance

Monitoring Procedures) and outlined in section IV(A)(3) on page 7 of the CJ. In relation, the

IMs judged these corrective actions/activities to be sufficient for addressing the single systemic

Child Find violation observed during the spring 2019-2020 on site follow-up targeted

monitoring review.

        3. Status of LDOE Compliance

        After participating in the targeted, follow-up monitoring visits for Walter L. Cohen

Preparatory Academy and reviewing documentation submitted by the LDOE monitoring

personnel (e.g., follow-up monitoring notification, 2019-2020 LDOE Monitoring Report,



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2019-2020 IDEA Monitoring Results Summary, Intensive Corrective Action Plan (ICAP),

technical assistance meetings and follow-up technical assistance), and discussing the follow-up

targeted monitoring findings for this NOLA PS charter school with LDOE monitoring

personnel during conference calls and/or on-site meetings throughout the spring 2019-2020

semester, the LDOE is judged to be in Substantial Compliance with Section IV(A)(3)(a-b)

and Sections A(1)(a-c) through 5(a) of Addendum A of the CJ for the follow-up targeted

monitoring conducted during the spring semester of the 2019-2020 school year.

       B. RELATED SERVICES

        1. Targeted Monitoring Activities for the Related Service Provisions

       Three NOLA PS charter schools were required to participate in the targeted, on-site

follow-up monitoring during the spring semester of the 2019-2020 school year to assess

compliance for IDEA Related Service provisions. The NOLA PS Charter schools requiring

targeted follow-up monitoring during the spring 2019-2020 semester included Lusher Charter

School, James Singleton Charter School, and Audubon Charter School. A review of findings

for each charter school is presented below.

        a. Lusher Charter School

       The targeted, on-site monitoring visit occurred on February 6, 2020. One LDOE

representative and two IMs conducted the staff interview and reviewed selected student files.

The staff interviews were conducted using a standard bank of questions with staff members

consistent with requirements outlined in sections B(4)(a) and B (4)(b) on page 3-4 of

Addendum A of the CJ. The specific staff members who participated in the interview process

are reported on page 3 of the LDOE monitoring report. Lusher Charter School faculty

members responded to all interview questions satisfactorily and clearly indicated their



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understanding of federal and state regulations required for Related Service provisions. A

detailed summary of staff responses is presented on pages 3-4 of the 2019-2020 LDOE

Monitoring Report.

       A representative sample of ten (10) student files were reviewed by the LDOE

monitoring personnel and the IMs in a manner consistent with the requirements outlined in

section B(2)(a) and B(2)(b) on page 3 of Addendum A of the CJ. Specifically, the sample

consisted of three students (30% of the sample) with an exceptionality of Autism (AU), one

student (10% of the sample) with an exceptionality of Orthopedic Impairment (OI), two

students (20% of the sample) with an exceptionality of Emotional Disability (EMD), two

students (20% of the sample) with an exceptionality of Other Health Impaired (OHI), one

student (10% of the sample) with an exceptionality of Intellectually Disabled (ID) and one

student (10% of the sample) with an exceptionality of Developmentally Delayed (DD). The

documented Related Service provisions reviewed included Speech Therapy (seven students),

Counseling Services (three students), Social Work Services (three students), Occupational

Therapy (six students) and Medical Services (one student).

       Student file reviews were conducted by LDOE monitoring personnel and the IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum A

of the CJ using the required Related Service protocol. Please refer to page 4 of the LDOE

monitoring report for Lusher Charter School in the Appendix for a list of items that were

reviewed to complete the Related Service protocol for the sample of students.

       A review of student records revealed that eight of eight (100%) of IDEA Related

Services regulations assessed reflected no systemic issues of noncompliance under IDEA, Part

B program. However, there were student- specific concerns of noncompliance observed for




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IDEA §300.320(a)(1)(i)(2)(i)-PLAAFP statements (two students) and IDEA §300.320. (a)(2)

and 300.160(5a) (b2ii)(c-9) - Definition of Individualized Education Program-Measurable

Goals (one student). All student-specific findings of noncompliance are listed on page 2 of the

2019-2020 IDEA Monitoring Results Summary for Lusher Charter School located in the

Appendix.

       b. James Singleton Charter School

       The targeted, on-site monitoring visit occurred on February 5, 2020. Three LDOE

representatives and three IMs conducted the staff interview and reviewed student files. The

staff interviews were conducted using a standard bank of questions with staff members

consistent with requirements outlined in section B(4)(a) and B(4)(b) of page 3 of Addendum A

of the CJ. The specific staff members who participated in the interview process are reported on

page 3 of the LDOE 2019-2020 Monitoring Report. James Singleton faculty members

demonstrated an adequate knowledge and understanding of IDEA regulations regarding related

services provisions and clearly articulated the charter school’s procedures for identifying

students requiring related services, methods of service provisions and procedures for

monitoring the service delivery and progress for all applicable students. A summary of staff

responses is presented on page 3 of the LDOE monitoring report located in the Appendix.

       A sample of ten student files were reviewed by the LDOE monitoring personnel and

the IMs in a manner consistent with the requirements outlined in section B(2)(a) and B(2)(b)

on page 3 of Addendum A of the CJ. Specifically, the sample consisted of two students (20%

of the sample) with an exceptionality of Autism (AU), five students (50% of the sample) with

an exceptionality of Intellectually Disability (ID), one student (10% of the sample) with an

exceptionality of Multiple Disabilities (MD), one student (10% of the sample) with an



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exceptionality of Other Health Impaired (OHI) and one student (10% of the sample) with an

exceptionality of Developmentally Delayed (DD). The Related Service provisions reviewed

included Speech (10 students), Occupational Therapy (five students), Adaptive PE (two

students), Orientation/Mobility services (one student), Assistive Technology (one student).

         Targeted file reviews were conducted by LDOE monitoring personnel and the IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum A

of the CJ using the required Related Service protocol. Please refer to page 4 of the 2019-2020

LDOE Monitoring Report for James Singleton Charter School in the Appendix for a list of

items that were reviewed to complete the Related Service protocol for the sample of student

files.

         A review of student records revealed that eight of eight (100%) IDEA Related Services

regulations assessed reflected no systemic issues of noncompliance under the IDEA, Part B

program. However, there were student- specific concerns of noncompliance observed for

IDEA §300.321(a)-(b)-IEP Team Members (one student), IDEA §300.320(a)(1)(i)(2)(i)-

PLAAFP statements (two students) and IDEA §300.320. (a)(2) and IDEA 300.160(5a)

(b2ii)(c-9) - Definition of Individualized Education Program-Measurable Goals (two students).

All student-specific findings of noncompliance are listed on page 2 of the 2019-2020 IDEA

Monitoring Results Summary for James Singleton Charter School located in the Appendix.

         c. Audubon Charter School

         The targeted, on-site monitoring visit occurred on February 6, 2020. Two LDOE

representatives and one IM were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard bank

of questions with staff members consistent with requirements outlined in sections B(4)(a) and




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B(4)(b) on page 4-5 of Addendum A of the CJ. The specific staff members who participated in

the interview process are reported on page 3 of the LDOE monitoring report. Staff members

for Audubon Charter School participating in the interview process clearly articulated the

charter school’s procedures for Related Service provisions for students with disabilities and

demonstrated adequate knowledge of such provisions as required under the IDEA. A summary

of staff responses is presented on pages 3-4 of the 2019-2020 LDOE Monitoring Report for

Audubon Charter School.

       A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and the IM in a manner consistent with the requirements outlined in section B(2)(a)

and B(2)(b) on page 3 of Addendum A of the CJ. The sample consisted of three students (30%

of the sample) with an exceptionality of Autism (AU), two students (20% of the sample) with

an exceptionality of Visually Impaired (VI), four student (40% of the sample) with an

exceptionality of Language/Speech Impaired (LS) and one student (10% of the sample) with

an exceptionality of Hearing Impaired (HI). The Related Service provisions reviewed included

Occupational Therapy (three students), Speech Therapy (eight students), Social Work Services

(one student) and Adaptive PE (one student).

       Targeted file reviews were conducted by LDOE monitoring personnel and the IM in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum A

of the CJ using the required Related Service protocol. Please refer to page 4 of the LDOE

monitoring report for Audubon Charter School in the Appendix for a list of items that were

reviewed to complete the Related Service protocol for the sample of students.

       A review of student records revealed that eight of eight (100%) IDEA Related Services

regulations assessed reflected no systemic issues of noncompliance under the IDEA, Part B




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program. However, there were student-specific concerns of noncompliance observed for IDEA

§300.320(a)(1)(i)(2)(i)-PLAAFP statements (two students) and IDEA §300.320. (a)(2) and

IDEA 300.160(5a) (b2ii)(c-9) - Definition of Individualized Education Program-Measurable

Goals (two students). All student-specific findings of noncompliance are listed on page 2 of

the 2019-2020 IDEA Monitoring Results Summary for Audubon Charter School located in the

Appendix.

      2. Corrective Actions to Address Identified Areas of Noncompliance

      A previously reported, all NOLA charter schools participating in the required spring

2019-2020 follow-up targeted monitoring activities demonstrated systemic compliance for

100% of the IDEA Related Services regulations reviewed. As such, no formal corrective

actions were warranted. However, as previously noted, there were student-specific IDEA

Related Service violations observed across all NOLA PS charter schools participating in the

spring 2019-2020 follow-up monitoring reviews. As required under the IDEA, all student-

specific findings of IDEA noncompliance were corrected within 30 days of the issuance of the

2019-2020 LDOE Monitoring Report.

        After observing the current status of the abovementioned NOLA PS charter school’s

demonstration of systemic compliance with IDEA Related Services regulations, verifying that

all student-specific violations were corrected in a timely fashion and verifying that all CAP

activities were successfully completed, the LDOE issued a “Notice of CAP Closure” to charter

management officials via email on July 9, 2020 (Audubon Charter School) and September 8-

14, 2020 indicating that no further corrective actions were warranted for Lusher Charter

School, James Singleton Charter and Audubon Charter School in the area of Related Services

at this time. (See the Appendix for a copy of CAP or ICAP closure notifications).




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         3. Status of LDOE Compliance

         After participating in the monitoring visits for the NOLA PS charter schools requiring

follow-up targeted follow-up monitoring in the area of Related Services and reviewing

documentation submitted by the LDOE monitoring personnel (e.g., monitoring notifications,

2019-2020 LDOE Monitoring Reports and 2019-2020 IDEA Monitoring Results summaries,

technical assistance notifications, documentation of CAP and/or ICAP activities, Technical

Assistance meeting, follow-up technical assistance) and discussing the targeted monitoring

activities with LDOE monitoring personnel during conference calls and on-site meetings

during throughout the spring semester of the 2019-2020 school year, the LDOE is judged to be

in Substantial Compliance with Section IV(B)(2)(a-b) of the CJ and Sections B(1)(a-c)

through 5(a) of Addendum A of the CJ for the spring semester of the 2019-2020 school year.

         C. DISCIPLINE

         1. Targeted Monitoring Activities for the Discipline Provisions

         There were no NOLA PS charter schools required to undergo targeted, on-site follow-

up monitoring during the spring of the 2019-2020 school year.

         D. ENROLLMENT STABILITY

         1. Targeted Monitoring Activities for the Enrollment Stability Provisions

          Encore Academy represented the single NOLA PS charter school required to

participate in the targeted, follow-up monitoring conducted during the spring semester of the

2019-2020 school year to assess IDEA compliance in the area of Enrollment Stability (Related

Services. A review of the follow-up monitoring findings for Encore Academy is presented

below.




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      (a) Encore Academy School

      The targeted, on-site monitoring visit occurred on February 4, 2020. Two LDOE

representatives and two IMs conducted the staff interview and reviewed student files. The staff

interviews were conducted using a standard bank of questions with staff members consistent

with requirements outlined in sections B(4)(a) and B (4)(b) on page 3-4 of Addendum A of the

CJ. The specific staff members who participated in the interview process are reported on page

3 of the LDOE monitoring report. The Encore Academy faculty members participating in the

interview process responded to all questions satisfactorily and clearly demonstrated adequate

knowledge of IDEA regulations required for Related Service provisions. A detailed summary

of staff responses is presented on pages 3-4 of the 2019-2020 LDOE monitoring report.

        A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and the IMs in a manner consistent with the requirements outlined in section B(2)(a)

and B(2)(b) on page 3 of Addendum A of the CJ. Specifically, the sample consisted of five

students (50% of the sample) with an exceptionality of Autism (AU), one student (10% of the

sample) with an exceptionality of Emotional Disability (EMD) and four students (40% of the

sample) with an exceptionality of Intellectually Disabled (ID). Related Service provisions

included Speech Therapy (eight students), Adaptive PE (three students), Occupational Therapy

(six students) and Social Work Services (seven students.)

        Student file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B(4)(a) and B(4)(b) on pages 3-4

of Addendum A of the CJ. Please refer to page 4 of the LDOE monitoring report for Encore

Academy in the Appendix for a list of items that were reviewed to complete the Related

Service protocol for the sample of students.




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        A review of student records revealed that eight of eight (100%) IDEA Related Services

regulations assessed reflected no systemic issues of noncompliance under IDEA, Part B

program. However, there was a student-specific concerns of noncompliance observed for a

single student related to IDEA §300.320(a)(1)(i)(2)(i)-PLAAFP statements and IDEA

§300.320. (a)(2) and 300.160(5a) (b2ii)(c-9) - Definition of Individualized Education Program-

Measurable Goals (one student). This student-specific finding of noncompliance is listed on

page 2 of the 2019-2020 IDEA Monitoring Results Summary for Encore Academy located in

the Appendix.

     2. Corrective Actions to Address Identified Areas of Noncompliance

     The findings of the spring 2019-2020 follow-up monitoring review for Encore Academy

indicated systemic compliance for 100% of the IDEA Related Services regulations reviewed.

As such, no formal corrective actions were warranted. However, as previously noted, there

were student-specific IDEA Related Services violations observed for a single student. As

required under the IDEA, these student- specific findings of IDEA noncompliance were

corrected within 30 days of the issuance of the 2019-2020 LDOE Monitoring Report.

        After observing the current status of Encore Academy’s systemic compliance with all

assessed IDEA Related Services regulations, verifying the single student-specific violations

were corrected in a timely fashion and verifying that all CAP activities were successfully

completed, the LDOE issued a “Notice of CAP Closure” charter management officials via

email on September 14, 2020 indicating that no further corrective actions were warranted for

Encore Academy School in the area of Enrollment Stability (Related Services) at this time (see

the Appendix for a copy of CAP closure notification).




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       3. Status of LDOE Compliance

       After participating in the monitoring visits for the NOLA PS charter schools requiring

follow-up targeted follow-up monitoring in the area of Enrollment (Related Services) and

reviewing documentation submitted by the LDOE monitoring personnel (e.g., monitoring

notifications, 2019-2020 LDOE Monitoring Reports and 2019-2020 IDEA Monitoring Results

summaries, technical assistance notifications, documentation of required CAP activities,

Technical Assistance meeting, follow-up technical assistance) and discussing the targeted

monitoring activities with LDOE monitoring personnel during conference calls and on-site

meetings during throughout the spring semester of the 2019-2020 school year, the LDOE is

judged to be in Substantial Compliance with Section IV(D)(7)(a-b) of the CJ and Sections

D(1)(a-c) and D(2)(a-c) of Addendum A of the CJ for the spring semester of the 2019-2020

school year.

SUMMARY

        A total of five NOLA PS charter schools were required to undergo follow-up targeted

monitoring during the spring 2019-2020 school year to assess their status of IDEA after

completing corrective actions (i.e., CAP and/or ICAPs) during the spring 2018 and 2019-2020

school years to address previously observed findings of systemic noncompliance in the areas of

Child Find (one site), Related Services (three sites) and Enrollment Stability (one site).

        The findings of the spring 2019-2020 follow-up targeted monitoring visits indicated,

with the exception of student-specific IDEA violations, that all NOLA PS charter schools

requiring follow-up reviews demonstrated systemic compliance for all IDEA Related Services

and Enrollment Stability (i.e., Related Services) assessed. However, the single NOLA PS

Charter School required to participate in the spring 2019-2020 follow-up review in the area of



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Child Find (i.e., Walter L. Cohen Preparatory Academy) was observed to demonstrate

continued systemic noncompliance for a single Child Find regulation under §303- B. LA

Bulletin 1508 (SBLC procedures; parental involvement). As such, Walter L. Cohen

Preparatory Academy was required to undergo intensive corrective actions (ICAP) during the

spring 2019-2020 and 2020-2021 school years to address the abovementioned findings of

noncompliance in the area of Child Find.

       The findings here indicate that one of five (20%) NOLA PS charter schools required to

participate in spring 2019-2020 follow-up monitoring reviews evidenced continued systemic

noncompliance for regulations outlined under the IDEA and/or LA Bulletin 1508. These

findings are consistent with the spring 2018-2019 follow-up reviews where two of ten (20%) of

NOLA PS charter schools were found to demonstrate continued systemic noncompliance for

IDEA and/or LA Bulletin 1508 regulations.

        As reported in previous IM updates, although 20% of NOLA PS charter school have

demonstrated continued systemic noncompliance after implementing corrective actions during

the spring 2018-2019 and 2019-2020 school years, the primary concern is the continued

prevalence of systemic issues of noncompliance observed during initial targeted monitoring

reviews. That is, a total of 33% and 42% of targeted NOLA PS charter schools were observed

to demonstrate some level of systemic noncompliance for IDEA and/or LA Bulletin 1508

regulations during the fall 2018 and fall 2019 initial monitoring reviews, respectively. As such,

as a proactive measure, the IMs continue to recommend that NOLA PS and LDOE officials

collaborate and provide targeted trainings for staff in all NOLA PS and independent charter

schools that focus on the most frequently observed areas of noncompliance to date (i.e.,

developing meaningful and measurable PLAAFP statements and annual goals; appropriately



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documenting the provision of Related Services, etc.). In relation, it is also strongly

recommended that NOLA PS charter school officials implement internal strategies (i.e.,

frequent compliance monitoring) to ensure compliance for all IDEA regulations.




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